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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS
                                 KANSAS CITY DIVISION

PARALLEL TOWERS III, LLC and                                 )
CELLECTIVE SOLUTIONS, LLC,                                   )
                                                             )       Case No. 22-cv-02085
                        Plaintiff,                           )
                                                             )
v.                                                           )
                                                             )
COUNTY OF OTTAWA, KANSAS et al                               )
                                                             )
                        Defendants.                          )


         SBA TOWERS V, LLC’S ANSWER TO FIRST AMENDED COMPLAINT

        Intervenor SBA Towers V, LLC (“SBA”), for its Answer to Plaintiff’s First Amended

Complaint (“Complaint”), states:

        1.      SBA denies Paragraph 1 of the Complaint.

        2.      SBA admits the location of the Proposed Tower as stated in paragraph 2 of the

Complaint. SBA denies the remaining allegations in paragraph 2.

        3-6.    SBA denies paragraphs 3-6 of the Complaint.

        7.      Paragraph 7 of the Complaint is a statement of the relief sought, not an allegation

of fact to which a response is required. To the extent a response is required, SBA denies Plaintiff

is entitled to the relief sought.

        8-9.    SBA is without sufficient information to admit or deny paragraphs 8-9 of the

Complaint.

        10-12. SBA admits paragraphs 10-12 of the Complaint.

        13-15. SBA denies paragraphs 13-15 of the Complaint.

        16.     SBA admits venue is proper if jurisdiction exists.




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       17-18. SBA admits paragraphs 17 - 18 of the Complaint.

       19-20. In response to paragraphs 19-20 of the Complaint, SBA submits that the Kansas

Siting Act speaks for itself. Any description, summary or characterization of the Kansas Siting

Act inconsistent with the terms thereof is denied.

       21.     SBA is without sufficient information to admit or deny paragraph 21 as related to

the context of the Proposed Tower in Ada, Kansas. SBA admits that, generally, there is a high

demand for wireless service and wireless communications facilities provide infrastructure to help

meet that demand.

       22-29. In response to paragraphs 22-29 of the Complaint, SBA submits that the

Telecommunications Act (“TCA”) speaks for itself.               Any description, summary or

characterization of the TCA inconsistent with the terms thereof is denied.

       30-45. SBA is without sufficient information to admit or deny paragraphs 30-45 of the

Complaint.

       46-50. SBA admits paragraphs 46-50 of the Complaint.

       51.     SBA admits AT&T has stated its intention to relocate its equipment from SBA’s

existing tower in Ada, Kansas to the Proposed Tower, but is otherwise without sufficient

information to admit or deny paragraph 51 of the Complaint.

       52.     SBA is without sufficient information to admit or deny paragraph 52 of the

Complaint.

       53.     SBA denies paragraph 53 of the Complaint in that the Application identifies

Parallel Towers III LLC and Koch Family Revocable Trust-Joan Kloppenberg as the Applicants.

Cellective Solutions is identified as a “Agent” of Parallel.

       54.     SBA admits paragraph 54 of the Complaint.



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       55-56. SBA is without sufficient information to admit or deny paragraphs 55-56 of the

Complaint.

       57.     SBA admits AT&T has threatened to relocate its equipment from SBA’s existing

tower to the Proposed Tower, if approved, but otherwise denies paragraph 57 of the Complaint.

       58-71. SBA is without sufficient information to admit or deny paragraphs 58-71 of the

Complaint.

       72.     SBA admits paragraph 72 of the Complaint.

       73.     SBA admits the written denial dated January 31, 2022, Exhibit 5, which speaks

for itself. Any description, summary or characterization of the written denial inconsistent with

the terms thereof is denied.

                 COUNT I – VIOLATION OF THE KANSAS SITING ACT

       74.     SBA incorporates and restates its responses to the preceding allegations of the

Complaint.

       75-77. In response to paragraphs 75-77 of the Complaint, SBA submits that the Kansas

Siting Act speaks for itself. Any description, summary or characterization of the Kansas Siting

Act inconsistent with the terms thereof is denied.

       78.     Paragraph 78 is an abstract statement of law requiring no response. To the extent

a response is required, SBA denies the allegations.

       79-86. SBA denies paragraphs 79-86 of the Complaint.

    COUNT II – FAILURE TO SUPPORT THE DENIAL WITH SUBSTANTIAL
EVIDENCE CONTAINED IN THE WRITTEN RECORD IN VIOLATION OF THE TCA

       87.     SBA incorporates and restates its responses to the preceding allegations of the

Complaint.

       88.     SBA admits the quoted text is within the TCA.


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       89.     Paragraph 89 is an abstract statement of law requiring no response. To the extent

a response is required, SBA denies the allegations.

       90.     SBA denies paragraph 90 of the Complaint.

       91.     SBA admits the quoted text is stated in the written denial.

       92-104.         SBA denies paragraphs 92-104 of the Complaint.

     COUNT III – DISCRIMINATION AMONGST EQUIVALENT PROVIDERS IN
                          VIOLATION OF THE TCA

       105.    SBA incorporates and restates its responses to the preceding allegations of the

Complaint.

       106-107.        In response to paragraphs 106-107 of the Complaint, SBA submits that the

TCA speaks for itself. Any description, summary or characterization of the TCA inconsistent

with the terms thereof is denied.

       108.    SBA admits the special use application was denied, but is otherwise without

sufficient information to admit or deny paragraph 108 of the Complaint.

       109.    SBA admits its existing wireless communication facility is located at 1636 North

20th Road, Ada, Kansas, which is approximately ½ mile from the Proposed Tower location, but

is otherwise without sufficient information to admit or deny paragraph 109 of the Complaint.

       110-113.        SBA denies paragraphs 110-113 of the Complaint.

          COUNT IV – EFFECTIVE PROHIBITION OF WIRELESS SERVICES

       114.    SBA incorporates and restates its responses to the preceding allegations of the

Complaint.

       115.    In response to paragraph 115 of the Complaint, SBA submits that the TCA speaks

for itself. Any description, summary or characterization of the TCA inconsistent with the terms

thereof is denied.


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       116-118. Paragraphs 116-118 are abstract statements of law requiring no response. To

the extent a response is required, SBA denies the allegations.

       119-122.        SBA denies paragraphs 119-122 of the Complaint.

                           COUNT V – DECLARATORY RELIEF

       123.    SBA incorporates and restates its responses to the preceding allegations of the

Complaint.

       124-131.        SBA denies paragraphs 124-131 of the Complaint.

       WHEREFORE, Intervenor SBA Towers V, LLC respectfully requests all relief requested

by Plaintiffs be denied and for such other and further relief as the Court deems just and proper.

                                 AFFIRMATIVE DEFENSES

       SBA alleges the following affirmative defenses to Plaintiffs’ claims:

       1.      Plaintiffs’ Complaint fails to state a claim upon which relief may be granted.

       2.      The Court lacks subject matter jurisdiction over some or all of Plaintiffs’ claims.

       3.      Count I of Plaintiffs’ Complaint under the Kansas Siting Act is untimely and time

barred for failure to file this action within 30 days of the January 24, 2022 denial of the

application.

       4.      Count I of Plaintiffs’ Complaint is barred as a matter of law because the Kansas

Siting Act does not apply to applications for siting of wireless communications facilities on

private property.

       WHEREFORE, Intervenor SBA Towers V, LLC respectfully requests all relief requested

by Plaintiffs be denied and for such other and further relief as the Court deems just and proper.




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                                           Respectfully Submitted,

                                           ROUSE FRETS WHITE GOSS
                                           GENTILE RHODES, PC

                                           By: /s/ Brett C. Randol
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                                           ATTORNEYS FOR INTERVENOR




                               CERTIFICATE OF SERVICE

      I certify that on ____________, 2022, I electronically filed the foregoing document using
the CM/ECF system, which will send notice of electronic filing to the following:




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                                       /s/ Brett C. Randol




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